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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                           )
                                         )    LEAD DOCKET NO.
     Plaintiff/Counterclaim Defendant,   )    3:17-CV-02026-JBA
                                         )    U.S.D.C./NEW HAVEN
     v.                                  )
                                         )    Judge Janet Bond Arterton
HENRY KURZ,                              )
                                         )
     Defendant/Counterclaimant.          )




           MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS
          PURSUANT FEDERAL RULES OF CIVIL PROCEDURE, RULE 11
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       Pursuant to Rule 11 of the Federal Rules of Civil Procedure, ConfigAir LLC, Daniel

Naus, Nizwer Husain, and Dung Nguyen (collectively, “ConfigAir”) respectfully submit this

Memorandum of Law in support of their Motion for Sanctions (“Motion”). As set forth herein,

certain factual contentions in Kurz’s Counterclaim (“Countercl.”) [Dkt. 46] and his

Memorandum of Law in Opposition to ConfigAir’s Motion for Judgment on the Pleadings

(“Opp. to MJP”) [Dkt. 52] lack evidentiary support. Accordingly, ConfigAir respectfully

requests that the Court grant its Motion enter an order striking the factual allegations that lack

evidentiary support and requiring Kurz and his attorneys to pay ConfigAir’s reasonable costs,

including attorneys’ fees, incurred as a result of Kurz’s Rule 11 violation.

I.     INTRODUCTION AND FACTUAL BACKGROUND

       Henry Kurz, by and through counsel, has made representations to this Court that are

completely devoid of evidentiary support. It is not possible for Kurz to garner evidentiary

support for his factual contentions through investigation because discovery has already revealed

that the representations at issue are simply false.

       In his Counterclaim, Kurz alleges as follows:

       43.     On or about July 9, 2014, Naus organized ConfigAir s.r.o., a Czech
       limited liability company, for the purpose of engaging software developers in the
       Czech Republic.

       44.     Naus represented to the Company’s members that 70% of ConfigAir s.r.o.
       was owned by the Company, and 30% of ConfigAir s.r.o. was owned by Naus’s
       friend, Ales Rastak.

       45.   In fact, the Company did not own any interest in ConfigAir s.r.o. Naus
       owned a 90% interest in ConfigAir s.r.o., and Rastak, owned a 10% interest in
       ConfigAir s.r.o.

       46.    Naus knew, but failed to disclose, the true owners of ConfigAir s.r.o.,
       including the fact that he was a majority owner of ConfigAir s.r.o., to the
       Company’s other members or its board of directors.




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(Countercl. [Dkt. 46], Page 27 of 66, ¶¶ 43-46). Kurz reiterates these factual contentions in his

Opposition to ConfigAir’s Motion for Judgment on the Pleadings. (Opp. to MJP [Dkt. 52], Page

15 of 37) (“Naus knew, but failed to disclose, the true owners of the Czech Entity, including the

fact that he was a majority owner of the Czech Entity, to the Company’s other members or its

board of directors.”).

       Kurz’s contention that Naus failed to disclose his majority ownership interest in

ConfigAir s.r.o. to Kurz and the other members in 2014 is unequivocally refuted by Kurz’s own

contemporaneous written communications. In a May 23, 2014 email from Naus to Kurz and the

other members of ConfigAir, Naus informed the other members of the following:

       Ales and I went to the notary public yesterday and again today in order to start the
       paperwork for the Czech branch of configair. Unfortunately the US documents
       were not acceptable to the Czech authorities in order to have ConfigAir LLC
       figure as the founder of ConfigAir s.r.o. Long story but a workaround is below.

       So to get the process started and not delay further we have decided to do the
       following:

       - incorporate ConfigAir s.r.o (pending verification of the uniqueness of name,
       should be borderline OK as the closest other name is Config s.r.o)

       - 90% of ownership is with myself personally, 10% is with Ales as previously
       agreed

       - seat of business is Ales’ home address

       - Ales is the authorized person for company business (in Czech “jednatel”), so
       that he can proceed with all paperwork

(Declaration of Rebecca A. Brazzano (“Brazzano Decl.”) Ex. A). On the same day, Kurz

responded to Naus’ email as follows:

       We knew it would not be easy. Super that you went ahead with it. We should
       celebrate this day as this is a very important step for our future. Where is the
       Champagne? ;-)

(Id.). ConfigAir produced this email string in discovery on November 28, 2018 as

CONF00162—CONF00163. (Id. ¶ 3). On December 6, 2018, counsel for ConfigAir sent a letter

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to Kurz’s counsel providing notice of the Rule 11 violation and demanding that Kurz correct his

misrepresentations to the Court within seven days. (Id. ¶ 2 & Ex. A). Kurz failed and refused to

correct the record. (Id. ¶ 2). On December 20, 2018, counsel for ConfigAir served a copy of the

instant Motion on Kurz’s counsel in accordance with Federal Rule of Civil Procedure 11(c)(2).

(Id. ¶ 4).

II.     LEGAL ARGUMENT

        Sanctions are warranted under Federal Rule of Civil Procedure 11(c) because Kurz knew

that his factual contentions lacked evidentiary support when he made them. Moreover, Kurz’s

counsel has been on notice of the false representations contained in Kurz’s pleadings since, at the

latest, December 6, 2018 and has not taken any steps to correct those misrepresentations.

        Rule 11 of the Federal Rules of Civil Procedure governs an attorney’s obligations with

respect to representations made to the Court:

        By presenting to the court a pleading, written motion, or other paper . . . an
        attorney . . . certifies that to the best of the person’s knowledge, information, and
        belief, formed after an inquiry reasonable under the circumstances . . . the factual
        contentions have evidentiary support or, if specifically so identified, will likely
        have evidentiary support after a reasonable opportunity for further investigation or
        discovery.

Fed. R. Civ. P. 11(b)(3). A pleading or other court filing violates Rule 11 “‘where, after

reasonable inquiry, a competent attorney could not form a reasonable belief that the pleading is

well grounded in fact.’” Malkan v. Mutua, 699 Fed. Appx. 81, 83 (2d Cir. 2017) (quoting

Kropelnicki v. Siegel, 290 F.3d 118, 131 (2d Cir. 2002)). “‘The mental state applicable to

liability for Rule 11 sanctions initiated by motion is objective unreasonableness, i.e., liability

may be imposed if the lawyer’s claim to have evidentiary support is not objectively reasonable.’”

Malkan, 699 Fed. Appx. at 83 (quoting In re Pennie & Edmonds LLP, 323 F.3d 86, 91 (2d Cir.

2003)). “Totally unsupported factual contentions are sanctionable under Rule 11(b)(3).” In re

Star Gas Sec. Litig., 745 F. Supp. 2d 26, 33 (D. Conn. 2010) (finding Rule 11 violation where
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allegations supporting fraud claim “utterly lacked evidentiary support” and actual timeline of

events “would have made it impossible for Plaintiffs to prove” that alleged misrepresentations

occurred) (Arterton, J.).

       In the present case, Kurz’s factual contentions that Naus “failed to disclose[] the true

owners of ConfigAir s.r.o., including the fact that he was a majority owner of ConfigAir s.r.o., to

the Company’s other members or its board of directors” is totally unsupported. (Countercl. ¶ 46;

see also Opp. to MSJ, Page 15 of 37). Kurz did not qualify these allegations by stating that they

“will likely have evidentiary support after a reasonable opportunity for further investigation or

discovery.” Fed. R. Civ. P. 11(b)(3). Nor could he. As demonstrated by Naus’ May 24, 2014

email and Kurz’s response, Kurz knew that his allegations lacked evidentiary support when he

made them. (Brazzano Decl. Ex. A). In his email, Naus clearly notified Kurz and ConfigAir’s

other members that upon formation of ConfigAir s.r.o., Naus would personally own a 90%

interest in that entity and Ales would own 10%. (Id.). As Kurz’s response establishes, he was not

only aware of the ownership structure of ConfigAir s.r.o. at the time of its formation, but he also

encouraged Naus to proceed. (Id.).

       ConfigAir formally notified Kurz and his counsel of the inaccurate representations on

December 6, 2018. (Id. Ex. A). In light of the contemporaneous communications between the

members of ConfigAir, any claim that Kurz’s factual contentions have evidentiary support is

objectively unreasonable. Upon reviewing those communications, no competent attorney could

form a reasonable belief that Kurz’s allegation that Naus concealed his ownership interest in

ConfigAir s.r.o. from Kurz and the other members is “well grounded in fact.” Malkan, 699 Fed.

Appx. at 83. By making “[t]otally unsupported factual contentions” and by failing to correct

those misrepresentations to the Court after receiving formal notice of them, Kurz and his counsel

violated Federal Rule of Civil Procedure 11(b). In re Star Gas Sec. Litig., 745 F. Supp. 2d at 33.

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This egregious conduct justifies the imposition of sanctions “to deter repetition of the conduct or

comparable conduct by others similarly situated.” Fed. R. Civ. P. 11(c)(4).

       Accordingly, the Court should exercise its discretion to strike paragraphs 44 and 46 of

Kurz’s Counterclaim and all factual contentions based upon those unsupported allegations in

Kurz’s Opposition to ConfigAir’s Motion for Judgment on the Pleadings as a nonmonetary

sanction for his Rule 11 violation. Fed. R. Civ. P. 11(c)(4). Because the instant Motion was

necessitated by Kurz’s sanctionable conduct, the Court should also order Kurz and his counsel to

pay ConfigAir’s reasonable attorneys’ fees and other expenses directly resulting from the

violation. Fed. R. Civ. P. 11(c)(2) & (4).

III.   CONCLUSION

       For the foregoing reasons, ConfigAir respectfully requests that the Court grant its Motion

and enter an order striking Kurz’s totally unsupported factual contentions and awarding

ConfigAir its reasonable attorneys’ fees and other expenses resulting from Kurz’s violation of

Rule 11 of the Federal Rules of Civil Procedure.


Dated: February 7, 2019                             Respectfully submitted,


                                                    /s/ Rebecca A. Brazzano
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the February 7, 2019, a true copy of the foregoing

MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS PURSUANT TO

FEDERAL RULES OF CIVIL PROCEDURE, RULE 11 was filed electronically. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                              /s/ Rebecca A. Brazzano
                                              Rebecca A. Brazzano




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